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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                        DECISION AND ORDER
                                                             10-CR-239S
              v.


BRODERICK ROBINSON,

                                Defendant.


I.      INTRODUCTION

        Pending before the Court is a motion (Dkt. No. 342) by defendant Broderick

Robinson (“Robinson”) for reconsideration of his custody status and for release

on bail. Robinson notes in his motion that he has been incarcerated for

approximately three years and six months and argues that circumstances have

changed to favor release. Specifically, Robinson argues that he has been

receiving medication for emotional problems that led him to violate his prior terms

of release; the medication supposedly makes him emotionally stable and

cooperative. The Government opposes release, arguing generally that nothing in

the case has changed and emphasizing the serious nature of the charges against

Robinson and his prior unwillingness to abide by release conditions. The United

States Probation Office (“USPO”) opposes release on the basis that Robinson

had a prior opportunity during inpatient treatment to follow a medication regimen

and refused to do so.
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         The Court held a bail review hearing on May 21, 2014. For the reasons

below, the Court denies Robinson’s motion without prejudice.

II.      BACKGROUND

         This case concerns allegations that Robinson joined the other defendants

in the case to support a violent street gang called the Rounds Crew. In the

original indictment, filed on August 17, 2010, the Government accused Robinson

and others of conspiring to possess and to distribute over 100 kg of marijuana.

At arraignment on September 10, 2010, the Court released Robinson on

conditions that included a $1,000 signature bond, avoidance of alcohol and

controlled substances, and avoidance of any federal, state, or local offenses.

(See generally Dkt. No. 11.) On October 28, 2010, the Court received a non-

compliance report from the USPO detailing how Robinson continued to use

marijuana after his release and tested positive on October 4 and October 21,

2010. Per USPO recommendation, the Court took no action at that time. On

December 10, 2010, the Court issued a warrant based on a USPO bail violation

petition containing three counts. Count One detailed a shoplifting arrest that

occurred on December 4, 2010. Count Two detailed positive marijuana tests on

September 13 and 21, 2010; October 4 and 21, 2010; and November 16, 2010.

Count Three detailed a diluted urine sample. The Court held a violation hearing

on December 16, 2010, after which it issued an amended Order Setting

Conditions of Release. (See generally Dkt. No. 43.) The Court left the violation

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petition open but allowed Robinson to remain released, adding the conditions that

he undergo inpatient treatment and that he take all medications as prescribed.

The USPO filed an amended violation petition on January 19, 2011 that dropped

the count concerning diluted urine but added a new Count Three concerning

Robinson’s expulsion from inpatient treatment for numerous rule violations. A

new Count Four detailed that Robinson refused to take medications as

prescribed. The Court (Schroeder, M.J., covering) held an initial appearance on

the new petition on January 20, 2011 and ordered Robinson detained pending

further proceedings. Later, on March 14, 2011, the parties agreed that Robinson

should undergo a competency evaluation. The Court put bail violation

proceedings on hold at that point. Robinson has been in continuous custody

since January 20, 2011.

      While arrangements for a competency evaluation ran their course, the

Government filed a superseding indictment on June 1, 2012. (See generally Dkt.

No. 163.) In Count One, the Government accused Robinson of conspiring to

engage in racketeering activity. With respect to overt acts, the Government

accused Robinson of drug possession on or about July 13, 2009; and capturing a

victim who attempted to flee other defendants on August 13-14, 2009. Robinson

allegedly dragged the victim back to his co-defendants, who killed the victim, and

then hid the gun used in the murder. In Count Four, the Government accused

Robinson of conspiring with others to possess and to distribute over 100 kg of

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marijuana. In Count Six, the Government accused Robinson and others of

maintaining a drug premises. In Count Seven, the Government accused

Robinson and others of maintaining a second drug premises. The Court

arraigned Robinson on June 11, 2012.

      Robinson’s competency evaluation eventually concluded, and the Court

eventually received a report from the Federal Bureau of Prisons on November 6,

2012. The report is filed under seal, and the Court will not divulge confidential

information here. In short, Robinson’s evaluators found him competent to stand

trial but noted some concern about non-compliance with medication and about

opposition to authority. The Court formally accepted the report on February 21,

2013 (Dkt. No. 233) and found Robinson competent to stand trial.

      Robinson filed the pending motion on May 7, 2014. In the motion,

Robinson notes that he has remained in continuous custody for about three years

and six months since his remand date of January 20, 2011. Robinson

additionally argues that certain emotional problems “may have caused him to be

initially non-compliant with his previous terms and conditions of pre-trial release.

Since being properly medicated, he is emotionally stable and cooperative.” (Dkt.

No. 342 at 3.) At oral argument, Robinson elaborated that he had no opportunity

to self-medicate during his last release, and that his mother, Juanita Robinson,

would be willing to take him in again. The Government did not address the

medical issue directly in its papers but argues generally that nothing in the case is

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changed and that Robinson has been unwilling to abide by conditions of release

in the past. At oral argument, the Government emphasized the nature of the

charges against Robinson, including Robinson’s alleged ties to three different

murders. The Government also contended that Robinson has made

misrepresentations to a grand jury, has represented to a confidential informant

that he would attempt to demonstrate incompetency to stand trial, and carries a

risk of recidivism.

III.   DISCUSSION

       “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such release

will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community.’” U.S. v. Sabhnani,

493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered when

assessing flight or danger include the nature and circumstances of the offense

charged, the weight of the evidence against the person, the history and

characteristics of the person, and the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. See

18 U.S.C. § 3142(g).




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      With respect to flight risk, “the government carries a dual burden in seeking

pre-trial detention. First, it must establish by a preponderance of the evidence

that the defendant, if released, presents an actual risk of flight. Assuming it

satisfies this burden, the government must then demonstrate by a preponderance

of the evidence that no condition or combination of conditions could be imposed

on the defendant that would reasonably assure his presence in court.” Sabhnani,

493 F.3d at 75 (citations omitted). “To order detention, the district court must

find, after a hearing, that the government has established the defendant’s

dangerousness by clear and convincing evidence. The rules of evidence do not

apply in a detention hearing. Further, the government may proceed by proffer.”

U.S. v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995) (citations omitted).

      Once the Court has issued a detention order in the manner set forth above,

it may reconsider that order and reopen the detention hearing “at any time before

trial if the judicial officer finds that information exists that was not known to the

movant at the time of the hearing and that has a material bearing on the issue

whether there are conditions of release that will reasonably assure the

appearance of such person as required and the safety of any other person and

the community.” 18 U.S.C. § 3142(f)(2). “New and material information for

Section 3142(f)(2)(B) purposes consists of something other than a defendant’s

own evaluation of his character or the strength of the case against him: truly

changed circumstances, something unexpected, or a significant event.” U.S. v.

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Jerdine, No. 1:08 CR 00481, 2009 WL 4906564, at *3 (N.D. Ohio Dec. 18, 2009)

(citation omitted). Where evidence was available to defendant at the time of the

hearing, the hearing will not be reopened. See U.S. v. Dillon, 938 F.2d 1412,

1415 (1st Cir. 1991); U.S. v. Hare, 873 F.2d 796, 799 (5th Cir. 1989).

      Here, Robinson has not presented any information unknown to him

previously that would warrant a change in his custody status. Robinson

continues to face serious racketeering charges related to drug possession, drug

premises, and murder. While Robinson enjoys a presumption of innocence and

the Government’s allegations are not evidence, the allegations against him

worsened with the filing of the superseding indictment. The pretrial services

report from Robinson’s original detention in September 2010 noted regular drug

use since age 11; Robinson’s bail violation petitions indicate that Robinson did

not change his drug activity even in the face of Court orders and mandatory

inpatient treatment. See 18 U.S.C. § 3142(g)(3)(A) (listing “history relating to

drug or alcohol abuse” among factors to consider); U.S. v. Quartermaine, 913

F.2d 910, 917 (11th Cir.1990) (“The [Bail Reform] Act [of 1984] specifically

provides, however, for consideration of the accused’s ‘history relating to drug or

alcohol abuse.’”) (citing 18 U.S.C. § 3142(g)(3)(A)). Robinson’s new professions

of maturity and willingness to self-medicate, while perhaps laudable when taken

at face value, do not balance well against the entirety of his history of non-

compliance. Cf. U.S. v. Ard, No. 10-CR-184, 2011 WL 2421222, at *3 (W.D.N.Y.

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June 13, 2011) (Skretny, C.J.) (“Defendant’s criminal history includes one arrest

while under probation supervision and two arrests while released on bail,

demonstrating that Defendant is unable to comply with conditions of release.”).

Meanwhile, the Court harbors concern about releasing Robinson to his mother’s

residence, given the three orders of protection issued against him in 2007 and

2008 prohibiting contact with his mother. Cf. U.S. v. Bobbitt, No. 09-CR-331A,

2013 WL 3049167, at *4 (W.D.N.Y. June 17, 2013) (Scott, M.J.) (noting active

orders of protection at the time of arrest as a factor in favor of detention); U.S. v.

Mansuryan, No. 10-10060-03-EFM, 2010 WL 2545989, at *2–3 (D. Kan. June

22, 2010) (“Further militating against release is the fact that Defendant has failed

to identify a suitable place for him to reside while out on release.”); but see U.S.

v. Norfleet, 185 F. Supp. 2d 315, 320–21 (S.D.N.Y. 2002) (releasing a defendant

despite an order of protection, but where “he was employed, thereby supporting

his wife, their two children, and a step child. He was successfully undergoing

drug treatment, which he had commenced prior to his arrest, and had consistently

tested negative for controlled substances when tested by Pretrial Services.”)

Robinson’s mother even reported to the USPO during preparation of the pretrial

services report that Robinson had been violent toward her on two occasions. In

the face of refusals to abide by conditions of release, past refusals to take

medication with at most a short recent history to the contrary, and prior violent




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encounters with family, the Court will not expose Robinson’s mother or the

community generally to the risk of a violent relapse.

      That said, the Court is beginning to feel some frustration that, as of this

writing, Robinson has been in continuous custody for over 40 months in a nearly

four-year-old case that still has a death-penalty decision pending from the

Department of Justice for one defendant. (See Dkt. No. 288.) A decision to seek

the death penalty could have a drastic impact on the timetable for bringing this

case to trial and easily could push Robinson’s custody beyond the longest

periods of detention that the Second Circuit ever has permitted. See U.S. v.

Speed, No. 09-CR-329A, 2013 WL 1221479, at *5 (W.D.N.Y. Mar. 25, 2013)

(Scott, M.J.), aff’d, 2013 WL 6531950 (W.D.N.Y. Dec. 12, 2013) (Arcara, J.); U.S.

v. Rodriguez, No. 09-CR-331A, 2012 WL 6690197, at *11 (W.D.N.Y. Dec. 21,

2012) (Scott, M.J.). Consequently, the Court’s denial of Robinson’s motion will

be without prejudice to renewal on due-process grounds after December 1, 2014.

IV.   CONCLUSION

      For all of the foregoing reasons, the Court denies Robinson’s motion for

reconsideration of detention (Dkt. No. 342), without prejudice to renewal on due-

process grounds after December 1, 2014. Defendant shall remain in custody

pending trial.

      Defendant shall remain committed to the custody of the Attorney General

for confinement in a corrections facility separate, to the extent practicable, from

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persons awaiting or serving sentences or being held in custody pending appeal.

      Despite the Court’s order of detention, defendant shall be afforded

reasonable opportunity for private consultation with counsel. Additionally, on

order of the Court or on request of an attorney for the Government, the person in

charge of the corrections facility in which defendant is confined shall deliver

defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding in this case.

      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

shall be construed as modifying or limiting the presumption of innocence.

      SO ORDERED.
                                       __/s Hugh B. Scott________
                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE

DATED: May 28, 2014




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